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                   ATTACHMENT
                              A
                 Redacted Docket Materials
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR ACCOUNTS
                                                   SC No. 20-214
 ACCESSED FROM FIFTY-TWO IP
 ADDRESSES AND SERVICED BY
                                                   Filed Under Seal
 APPLE, INC., FOR INVESTIGATION OF
 VIOLATION OF 18 U.S.C. § 1030

Reference:     USAO Ref #                   Subject Account(s):                     et al.

                  AMENDED APPLICATION OF THE UNITED STATES
                   FOR AN ORDER PURSUANT TO 18 U.S.C. § 2703(d)

       The United States of America, moving by and through its undersigned counsel, respectfully

submits under seal this ex parte application for an Order pursuant to 18 U.S.C. § 2703(d). The

proposed Order would require Apple, Inc. ("PROVIDER"), an electronic communication service

and/or remote computing service provider located in Cupertino, California, to disclose certain

records and other information pertaining to the PROVIDER account(s) that were accessed from

the internet protocol ("IP") addresses listed in Tables 1 and 2 (for the dates indicated), and as set

forth in Part I of Attachment A to the proposed Order, within ten days of receipt of the Order. The

records and other information to be disclosed are described in Part II of Attachment A to the

proposed Order.

                                             TABLE 1
                        IP Address                            Time Frame
                                                             5/10/19-6/10/19
                                                             5/10/19-6/10/19
                                                             5/10/19-6/10/19
                                                             5/10/19-6/10/19
                                                             5/10/19-6/10/19
                                                             5/10/19-6/10/19
                                                             5/10/19-6/10/19
                                                             5/10/19-6/10/19
                                                             5/10/19-6/10/19
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                                TABLE 1
                IP Address                     Time Frame
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
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                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
                                              5/10/19-6/10/19
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                                             TABLE 1
                        IP Address                             Time Frame
                                                              7/20/19-Present
                                                              7/20/19-Present
                                                              7/20/19-Present
                                                              7/20/19-Present

       In support of this application, the United States asserts:

                       LEGAL BACKGROUND AND JURISDICTION

       1.       PROVIDER is a provider of an electronic communication service, as defined in 18

U.S.C. § 2510(15), and/or a remote computing service, as defined in 18 U.S.C. § 2711(2).

Accordingly, the United States may use a court order issued under § 2703(d) to require

PROVIDER to disclose the items described in Part II of Attachment A. See 18 U.S.C. § 2703(c)(2)

(Part ILA of Attachment A); 18 U.S.0 . § 2703(c)(1) (Part II.B of Attachment A).

       2.      This Court has jurisdiction to issue the requested Order because it is a "court of

competent jurisdiction" as defined by 18 U.S.C. § 3127. 18 U.S.C. § 3122(a)(1). Specifically, the

Court is a "district court of the United States . . . that — has jurisdiction over the offense being

investigated." 18 U.S.C. § 3127(2)(A)(i). As discussed more fully below, acts or omissions in

furtherance of the offenses under investigation occurred within Washington, D.C., see 18 U.S.C.

§ 3237, and the criminal offenses under investigation began or were committed upon the high seas,

or elsewhere out of the jurisdiction of any particular State or district. See 18 U.S.C. § 3238. In

addition, PROVIDER maintains corporate offices located in Washington, D.C.

       3.      A court order under section 2703(d) "shall issue only if the governmental entity

offers specific and articulable facts showing that there are reasonable grounds to believe that . . .

the records or other information sought . . . are relevant and material to an ongoing criminal

investigation." 18 U.S.C. § 2703(d). Accordingly, the next section of this application sets forth

specific and articulable facts showing that there are reasonable grounds to believe that the records

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and other information described in Part II of Attachment A are relevant and material to an ongoing

criminal investigation.

                                     RELEVANT FACTS

       4.      The United States government, including the FBI, is investigating suspected

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a)

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); and 18 U.S.C. § 371 (Conspiracy).

       5.      As part of that investigation, the FBI is investigating former members of the U.S.

intelligence community for illegally providing cyber capabilities and technical data to a foreign

entity and conducting offensive cyber intrusions against protected computers.

       6.      The investigation concerns a corporate entity, COMPANY ONE, which is

headquartered in th                                    and which performs services for a foreign

government. COMPANY ONE employs a number of United States persons who are former

members of the United States intelligence community, has established and operated a platform

through which the company can carry out surveillance, including through offensive cyber

intrusions. These offensive cyber intrusions include gaining unauthorized access to protected

computers and smartphones, for the purpose of intercepting electronic communications, including

communications of United States persons and/or communications that are sent or received through

United States computer servers — including PROVIDER computer servers.

       7.      According to multiple individuals with firsthand knowledge of COMPANY ONE's

operations, outgoing internet traffic for COMPANY ONE's computer intrusion operations is

routed through a sophisticated anonymization service (referred to here as the "ANONYMIZER")



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which is located in the United States. Accordingly, the United States obtained a pen register-trap

and trace order ("PRTT Order") which directed ANONYMIZER to provide records of

COMPANY ONE's internet traffic that passed through ANONYMIZER servers.

        8.     In addition, according to statements from multiple individuals with firsthand

knowledge of COMPANY ONE's operations, since 2016, COMPANY ONE has used certain

malicious computer tools to target and compromise victim smartphones. According to statements

from multiple individuals with firsthand knowledge of particular exploits, those exploits are

designed to take advantage of apparent and historical security flaws on smartphones that utilize

operating systems and servers that are serviced and updated by PROVIDER.

        9.     Additionally, multiple individuals,

       have reported that COMPANY ONE routinely used username and password stolen from

compromised devices to access the contents of PROVIDER subscriber accounts that contain the

personal information of COMPANY ONE's targets. PROVIDER's customers typically have free

access to a number of services that contain and record personal information, including inter alia,

e-mail services, photo storage, online document and data storage, calendars, location and mapping

data, search engine histories, etc.

        10.    The PRTT data does not include evidence about the content of any

communications. However, based on the PRTT, the FBI has concluded that the ANONYMIZER

assigns COMPANY ONE a number of dynamic IP addresses, usually ten, that it changes every 24

hours, as well as approximately 26 static IP addresses that remain unchanged for longer periods of

time. The IP addresses listed in Table 1 are the static IP addresses assigned to COMPANY ONE.

Any communication between PROVIDER servers and the IP addresses listed in Table 1 (on the

listed dates) could be the type of activity required for COMPANY ONE to access victims' personal



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data, transmit exploits or malware (i.e., malicious code designed to compromise an unwitting

user’s devices), send phishing emails (i.e., fraudulent emails and messages designed to cause

victims to click on links that download malware onto their devices), and conduct target research.

In addition, any use of the IP addresses listed in Table 1 could also provide evidence about

computer intrusion conduct by COMPANY ONE. 1

       11.     The information requested in Attachment A also includes the identity of subscriber

accounts that accessed any PROVIDER services from, and/or communicated with PROVIDER

servers via, the ANONYMIZER IP addresses listed in Table 1, which was assigned to COMPANY

ONE on the listed dates. This is expected to identify: (1) subscriber accounts belonging to victims

of COMPANY ONE’s malicious operations that were accessed by COMPANY ONE for its own

purposes (e.g. to view and copy targets’ personal data); and, (2) subscriber accounts used by

COMPANY ONE to access PROVIDER services and/or send, or attempt to send, phishing

messages, malicious links, etc.

       12.     Attachment A also requires PROVIDER to identify any accounts linked to the

accounts accessed from the ANONYMIZER IP address listed in Table 1, which was assigned to

COMPANY ONE on the listed dates, including accounts that are registered with the same email

address, or other unique identifiers, as well as accounts linked by cookies.

       13.     Finally, information requested in Attachment A includes, for all of the accounts

described in paragraphs 12 and 13 transactional records from account creation to present.


1
 This Court previously issued an Order under 18 U.S.C. § 2703(d) that requested PROVIDER
accounts that accessed the IP addresses listed in Table 1 for the period between June 11, 2019 –
July 19, 2019. These dates involved instances where investigators observed traffic between an
ANONYMIZER IP address and PROVIDER servers. The United States is now seeking an
Order for a broader IP range and timeframe because the FBI’s ability to identify traffic to
PROVIDER servers on the PRTT is based on open source information that may not be complete
or fully inclusive.


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                                   REQUEST FOR ORDER

       14.     The facts set forth above show that there are reasonable grounds to believe that the

records and other information described in Part II of Attachment A are relevant and material to an

ongoing criminal investigation. Specifically, these items will help the United States to identify

and locate the individual(s) who are responsible for the criminal activity under investigation, the

victims of the criminal activity under investigation, and to determine the nature and scope of that

criminal activity. Accordingly, the United States requests that PROVIDER be directed to produce

all items described in Part II of Attachment A to the proposed Order within ten days of receipt of

the Order.

       15.     The United States further requests that the Order direct PROVIDER not to notify

any person, including the subscriber or customer of each account listed in Part I of Attachment A,

of the existence of the application of the United States or the Order for one year from the date of

the Court’s Order. See 18 U.S.C. § 2705(b). This Court has authority under 18 U.S.C. § 2705(b)

to issue “an order commanding a provider of electronic communications service or remote

computing service to whom a warrant, subpoena, or court order is directed, for such period as the

court deems appropriate, not to notify any other person of the existence of the warrant, subpoena,

or court order.” See 18 U.S.C. § 2705(b). 2

       16.     In this case, the proposed Order seeks information relevant to establishing the



2
  The government relies on § 2705(b) to seek a preclusion-of-notice order because the government
is requesting only non-content information pursuant to § 2703(d), an action which is authorized
by § 2703(c). See 18 U.S.C. § 2703(c)(1)(B) (“governmental entity may require a provider of
electronic communication service or remote computing service to disclose a record or other
information pertaining to a subscriber to or customer of such service (not including the contents
of communications) only when [it] . . . obtains a court order for such disclosure under subsection
(d) of this section”). Under § 2703(c), the government has no obligation to notify the subscriber.
See 18 U.S.C. § 2703(c)(3) (“governmental entity receiving records or information under this
section is not required to provide notice to a subscriber or customer”).
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illegal activity under investigation and identifying the individual(s) responsible. Accordingly,

disclosure may reveal the existence, scope, and direction of the United States’ ongoing and

confidential investigation. In this case, COMPANY ONE and many of the subjects are aware of

the existence of the investigation. However, the requested Order seeks information about ongoing

activities that take advantage of particular exploits and anonymization services, and COMPANY

ONE is not aware of the scope of the investigation as to those exploits and anonymization services.

       17.     Once alerted to the requested order, COMPANY ONE or other subjects could be

immediately prompted to destroy or conceal incriminating evidence, alter their operational tactics

to avoid future detection, and otherwise take steps to undermine the investigation and avoid future

prosecution, including by changing their use of particular exploits and anonymization services.

Moreover, given that they are known to use electronic communication and remote computing

services, the potential target(s) could quickly and easily destroy or encrypt digital evidence.

       18.     Therefore, based on the foregoing, there are reasonable grounds to believe that

notification of the existence of this Order would result in destruction of or tampering with evidence

or other serious jeopardy to this investigation. See 18 U.S.C. § 2705(b)(3), (5).

       19.     Given the complex nature of the criminal activity under investigation and the

involvement of foreign-based coconspirators and evidence, and also given that the criminal scheme

may be ongoing, the United States anticipates that this confidential investigation will continue for

the next year or longer.

       20.     Accordingly, this Court should command PROVIDER not to notify any other

person (except attorneys for PROVIDER for the purpose of receiving legal advice) of the existence

of the proposed Order for a period of one year (commencing on the date of the proposed Order),

unless the period of nondisclosure is later modified by the Court. Should the court-ordered



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nondisclosure under Section 2705(b) become no longer needed because of the closure of the

investigation or arrest of the account holder, the United States will make best efforts to notify the

Court promptly and seek appropriate relief.

       21.     In this matter, the United States also requests that the instant Application and the

Order be filed under seal. The Court has the inherent power to seal court filings when appropriate,

including the proposed Order. United States v. Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980)

(citing Nixon v. Warner Commn’ns, Inc., 435 U.S. 589, 598 (1978)). More particularly, the Court

may seal the Application and Order to prevent serious jeopardy to an ongoing criminal

investigation when such jeopardy creates a compelling governmental interest in confidentiality.

See Washington Post v. Robinson, 935 F.2d 282, 287-89 (D.C. Cir. 1991). For the reasons stated

above, the United States has a compelling interest in confidentiality to justify sealing the

Application and Order. See id.

                                              Respectfully submitted,

                                              JESSIE K. LIU
                                              United States Attorney
                                              DC Bar No. 472845


                                              ____/s/_______________________
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR ACCOUNTS
                                                    SC No. 20-214
 ACCESSED FROM FIFTY-TWO IP
 ADDRESSES AND SERVICED BY
                                                    Filed Under Seal
 APPLE, INC., FOR INVESTIGATION OF
 VIOLATION OF 18 U.S.C. § 1030

                                              ORDER

       The United States has submitted an Application pursuant to 18 U.S.C. § 2703(d),

requesting that the Court issue an Order requiring Apple, Inc. (“PROVIDER”), an electronic

communication and/or remote computing service provider located in Cupertino, California, to

disclose the records and other information described in Attachment A to this Order. The Court

finds that the United States has offered specific and articulable facts showing that there are

reasonable grounds to believe that the records or other information sought are relevant and material

to an ongoing criminal investigation. Furthermore, the Court determines that there is reason to

believe that notification of the existence of this Order will seriously jeopardize the ongoing

investigation, including by giving targets an opportunity to change operational tactics and to

destroy or tamper with evidence. See 18 U.S.C. § 2705(b)(3), (5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that PROVIDER shall,

within ten days of receipt of this Order, disclose to the United States the records and other

information described in Attachment A to this Order.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 2705(b), that PROVIDER shall not

disclose the existence of the application of the United States or this Order of the Court to any other

person (except attorneys for PROVIDER for the purpose of receiving legal advice) for a period of
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one year (commencing on the date of this Order), unless the period of nondisclosure is later

modified by the Court.

        IT IS FURTHER ORDERED that the Application and this Order are sealed until otherwise

ordered by the Court, except that the United States may disclose the existence and/or contents of

the Application and this Order to appropriate law enforcement authorities.




Date:                                               ___________________________________
                                                    UNITED STATES MAGISTRATE JUDGE




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                                     ATTACHMENT A

I. The Account(s)

       The Order applies to certain records and other information for any Apple, Inc.

("PROVIDER") account(s) (including Apple Developer accounts) that were accessed from or

communicated with the internet protocol ("IP") addresses listed in Table 1, below, on the dates

indicated.



                                          TABLE 1
                      IP Address                           Time Frame
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
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                                           TABLE 1
                        IP Address                           Time Frame
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
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                                                            7/20/19-Present

II. Records and other information to be disclosed

   A. Information about the customer or subscriber of the Account(s)

       PROVIDER is required to disclose to the United States the following records and other
information, if available, for each account or identifier listed in Part I of this Attachment (the
"Account(s)") constituting information about the customer or subscriber of the Account(s):

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses, and
          email addresses);



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       3. Local and long distance telephone connection records;

       4. Records of session times and durations, and the temporarily assigned network
          addresses (such as Internet Protocol (“IP”) addresses) associated with those sessions;

       5. Length of service (including start date) and types of service utilized;

       6. Telephone or instrument numbers (including MAC addresses), Electronic Serial
          Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”), Mobile Equipment
          Identifier (“MEID”), Mobile Identification Numbers (“MIN”), Subscriber Identity
          Modules (“SIM”), Mobile Subscriber Integrated Services Digital Network Number
          (“MSISDN”), International Mobile Subscriber Identifiers (“IMSI”), or International
          Mobile Equipment Identities (“IMEI”);

       7. Other subscriber numbers or identities (including the registration IP address), including
          any current or past accounts linked to the Account(s) by telephone number, recovery
          or alternate e-mail address, IP address, or other unique device or user identifier; and,

       8. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.

   B. All records and other information relating to the Account(s) (except the contents of
      communications)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for the Account(s) for the time period from account creation, to the

present, constituting all records and other information relating to the Account(s) (except the

contents of communications), including:

       1. Records of user activity for each connection made to or from the Account(s), including
          log files; messaging logs; the date, time, length, and method of connections; data
          transfer volume; user names; and source and destination Internet Protocol addresses;

       2. Information about each electronic communication sent or received by the Account(s),
          including the date and time of the communication, the method of communication, and
          the source and destination of the communication (such as source and destination email
          addresses, IP addresses, and telephone numbers), and any other associated header or
          routing information;

       3. Records and other information about the creation time, registration IP address,
          language, country, time zone, and other non-content profile information associated
          with the Account(s);

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   4. All advertising data relating to the Account(s), including, but not limited to,
      information regarding unique advertising IDs associated with the Target Accounts,
      application IDs, UDIDs, payment information (including, but not limited to, full credit
      card numbers and expiration dates and PayPal accounts);

   5. User agent information and device ID information, including all devices used to access
      the Account(s) and associated Linked Accounts;

   6. Identification of any PROVIDER account(s) that are linked to the Account(s) (“Linked
      Accounts”) (including via common subscriber information, machine cookie or other
      cookie, creation or login IP address, recovery email or phone number, telephone or
      instrument number (e.g., IMEI or ESN), Globally Unique Identifiers (or “GUIDS”),
      AOL account ID, Android ID, Google ID, SMS, Apple ID, Facebook username, or
      otherwise), and, for each Linked Account, all records and information described in this
      Attachment.

C. Any and all cookies associated with or used by any computer or web browser associated
   with the Account(s) or any Linked Accounts, including the IP addresses, port data, dates,
   and times associated with the recognition of any such cookie.

D. Account notes and logs (including for Apple Developer Accounts), including any
   customer service communications or other correspondence with the subscriber; and
   investigative files or user complaints concerning the subscriber.




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR ACCOUNTS
                                                    SC No. 20-214
 ACCESSED FROM FIFTY-TWO IP
 ADDRESSES AND SERVICED BY
                                                    Filed Under Seal
 APPLE, INC., FOR INVESTIGATION OF
 VIOLATION OF 18 U.S.C. § 1030

                                              ORDER

       The United States has submitted an Application pursuant to 18 U.S.C. § 2703(d),

requesting that the Court issue an Order requiring Apple, Inc. (“PROVIDER”), an electronic

communication and/or remote computing service provider located in Cupertino, California, to

disclose the records and other information described in Attachment A to this Order. The Court

finds that the United States has offered specific and articulable facts showing that there are

reasonable grounds to believe that the records or other information sought are relevant and material

to an ongoing criminal investigation. Furthermore, the Court determines that there is reason to

believe that notification of the existence of this Order will seriously jeopardize the ongoing

investigation, including by giving targets an opportunity to change operational tactics and to

destroy or tamper with evidence. See 18 U.S.C. § 2705(b)(3), (5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that PROVIDER shall,

within ten days of receipt of this Order, disclose to the United States the records and other

information described in Attachment A to this Order.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 2705(b), that PROVIDER shall not

disclose the existence of the application of the United States or this Order of the Court to any other

person (except attorneys for PROVIDER for the purpose of receiving legal advice) for a period of
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one year (commencing on the date of this Order), unless the period of nondisclosure is later

modified by the Court.

       IT IS FURTHER ORDERED that the Application and this Order are sealed until otherwise

ordered by the Court, except that the United States may disclose the existence and/or contents of

the Application and this Order to appropriate law enforcement authorities.


                                                    G. Michael Digitally        signed by G.
                                                                       Michael Harvey

Date: February 4, 2020
                                                    Harvey             Date: 2020.02.04
                                                                       16:32:32 -05'00'
                                                    ___________________________________
                                                     UNITED STATES MAGISTRATE JUDGE




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                                     ATTACHMENT A

I. The Account(s)

       The Order applies to certain records and other information for any Apple, Inc.

("PROVIDER") account(s) (including Apple Developer accounts) that were accessed from or

communicated with the internet protocol ("IP") addresses listed in Table 1, below, on the dates

indicated.



                                          TABLE 1
                      IP Address                           Time Frame
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
                                                          5/10/19-6/10/19
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                                           TABLE 1
                        IP Address                           Time Frame
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
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                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present
                                                            7/20/19-Present

II. Records and other information to be disclosed

   A. Information about the customer or subscriber of the Account(s)

       PROVIDER is required to disclose to the United States the following records and other
information, if available, for each account or identifier listed in Part I of this Attachment (the
"Account(s)") constituting information about the customer or subscriber of the Account(s):

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses, and
          email addresses);



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       3. Local and long distance telephone connection records;

       4. Records of session times and durations, and the temporarily assigned network
          addresses (such as Internet Protocol (“IP”) addresses) associated with those sessions;

       5. Length of service (including start date) and types of service utilized;

       6. Telephone or instrument numbers (including MAC addresses), Electronic Serial
          Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”), Mobile Equipment
          Identifier (“MEID”), Mobile Identification Numbers (“MIN”), Subscriber Identity
          Modules (“SIM”), Mobile Subscriber Integrated Services Digital Network Number
          (“MSISDN”), International Mobile Subscriber Identifiers (“IMSI”), or International
          Mobile Equipment Identities (“IMEI”);

       7. Other subscriber numbers or identities (including the registration IP address), including
          any current or past accounts linked to the Account(s) by telephone number, recovery
          or alternate e-mail address, IP address, or other unique device or user identifier; and,

       8. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.

   B. All records and other information relating to the Account(s) (except the contents of
      communications)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for the Account(s) for the time period from account creation, to the

present, constituting all records and other information relating to the Account(s) (except the

contents of communications), including:

       1. Records of user activity for each connection made to or from the Account(s), including
          log files; messaging logs; the date, time, length, and method of connections; data
          transfer volume; user names; and source and destination Internet Protocol addresses;

       2. Information about each electronic communication sent or received by the Account(s),
          including the date and time of the communication, the method of communication, and
          the source and destination of the communication (such as source and destination email
          addresses, IP addresses, and telephone numbers), and any other associated header or
          routing information;

       3. Records and other information about the creation time, registration IP address,
          language, country, time zone, and other non-content profile information associated
          with the Account(s);

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   4. All advertising data relating to the Account(s), including, but not limited to,
      information regarding unique advertising IDs associated with the Target Accounts,
      application IDs, UDIDs, payment information (including, but not limited to, full credit
      card numbers and expiration dates and PayPal accounts);

   5. User agent information and device ID information, including all devices used to access
      the Account(s) and associated Linked Accounts;

   6. Identification of any PROVIDER account(s) that are linked to the Account(s) (“Linked
      Accounts”) (including via common subscriber information, machine cookie or other
      cookie, creation or login IP address, recovery email or phone number, telephone or
      instrument number (e.g., IMEI or ESN), Globally Unique Identifiers (or “GUIDS”),
      AOL account ID, Android ID, Google ID, SMS, Apple ID, Facebook username, or
      otherwise), and, for each Linked Account, all records and information described in this
      Attachment.

C. Any and all cookies associated with or used by any computer or web browser associated
   with the Account(s) or any Linked Accounts, including the IP addresses, port data, dates,
   and times associated with the recognition of any such cookie.

D. Account notes and logs (including for Apple Developer Accounts), including any
   customer service communications or other correspondence with the subscriber; and
   investigative files or user complaints concerning the subscriber.




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